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     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                 UNITED STATES DISTRICT COURT
 8
                                NORTHERN DISTRICT OF CALIFORNIA
 9
                                        OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                                 JOINT STIPULATION AND
                                                  [PROPOSED] ORDER RE
13                Plaintiffs,                     CONTINUANCE OF TRIAL AND
                                                  CERTAIN PRETRIAL DEADLINES
14         v.                                     [BASED ON UNAVAILABILITY OF
                                                  COUNSEL DUE TO EATON WILDFIRE]
15   NSO GROUP TECHNOLOGIES LIMITED
     and Q CYBER TECHNOLOGIES LIMITED,
16                                                Action Filed: 10/29/2019
17                Defendants.

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     JOINT STIPULATION AND [PROPOSED]                                 Case No. 4:19-cv-07123-PJH
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 1             Pursuant to Civil Local Rules 6-1(b) and 6-2, and as supported by the Declaration of Joseph

 2   N. Akrotirianakis filed herewith, Defendants NSO Group Technologies Limited and Q Cyber

 3   Technologies Limited (“Defendants”), and Plaintiffs WhatsApp LLC and Meta Platforms, Inc.

 4   (“Plaintiffs”) (collectively, the “Parties”) hereby stipulate and agree to the following and

 5   respectfully request that the Court continue the trial date to April 28, 2025, or to a date thereafter

 6   convenient for the Court, continue the pretrial conference to April 10, 2025, or to such date

 7   convenient to the Court, continue the deadlines in paragraph B.3 and B.5 of the Court’s Civil

 8   Pretrial Instructions to the dates that are 28 days and 14 days prior to the pretrial conference set by

 9   the Court, respectively, and continue the deadlines associated with the deposition of Defendants’

10   expert Josh Minkler. The parties are not requesting further continuance of the following: the date

11   to file reply briefs in support of motions to strike certain expert disclosures of Dana Trexler and

12   Greg Pinsonneault (January 23, 2025); and the dates relating to the Omnibus sealing motions re

13   exhibits to the parties’ motions for summary judgment and the Plaintiffs’ motion for sanctions

14   (January 24, 2025).

15             WHEREAS, section A.7 of the Court’s Civil Pretrial Instructions, entitled “Final Pretrial

16   Conference,” provides that “Motions pursuant to Daubert v. Merrill Dow Pharmaceuticals, Inc.,

17   509 U.S. 579 (1993), challenging the reliability of expert testimony, may be noticed for hearing

18   on the date dispositive motions will be heard or on any available hearing date up to and including

19   the date of the final pretrial conference”;

20             WHEREAS, section B of the Court’s Civil Pretrial Instructions, entitled “Final Pretrial

21   Conference,” provides, in paragraph B.3, that counsel for the parties shall prepare and file

22   numerous joint or individual pretrial documents and exchange all trial exhibits;

23             WHEREAS, on January 7, 2025, the Eaton Fire started in Altadena, California, has

24   displaced many thousands of residents in Altadena and its surrounding communities, including the

25   families of Defendants’ trial counsel, Joseph N. Akrotirianakis and Aaron Craig. Depending how

26   “destructiveness” is measured, the Eaton Fire is the second most destructive wildfire in the history

27   of California and the most destructive wildfire in Southern California history;

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 1           WHEREAS, even prior to mandatory evacuations, what remains of Altadena has been

 2   without any utilities (gas, power, water) for many days, and between evacuating and relocating

 3   their families numerous times and attending to other matters related to the Eaton fire, Defendants’

 4   counsel have had extremely limited ability to perform any work on Defendants’ pretrial filings and

 5   to prepare for trial;

 6           WHEREAS, as set forth in the declaration of Joseph N. Akrotirianakis filed concurrently

 7   herewith, there has been no official announcement as to when utilities will be restored other than

 8   a statement, by the Southern California Gas Co., that gas service can be restored only on an

 9   individual residence-by-residence basis, that each residence may take two hours to restore, and

10   that it may be “weeks” before gas service is restored;

11           WHEREAS, the Pasadena Water & Power Department, which supplies water (but not

12   power) to relevant parts of Altadena has warned that the Eaton Fire caused damage to several City

13   of Pasadena reservoirs and pump stations, impacting water quality, and that even once water

14   service is restored, water may not be used for drinking, cooking, brushing teeth, washing dishes,

15   making ice, etc., until further notice;

16           WHEREAS, Southern California Edison, which supplies power to relevant parts of

17   Altadena has stated that, as of the morning of January 16, 2025, 62,200 customers are without

18   power, without indication when power will be restored;

19           WHEREAS, Defendants’ trial counsel Mr. Akrotirianakis evacuated with his spouse and

20   young children, and without his materials related to this case, and many of his materials—

21   including Rule 16 pretrial preparation materials—are at his home office in Altadena where he

22   cannot access them;

23           WHEREAS, Mr. Akrotirianakis has relocated five times since the mandatory evacuation

24   order was issued. There has been no announcement when evacuation orders for when his

25   “Evacuation Zone” will be lifted and those orders are being actively enforced by the National

26   Guard stationed at every intersection entering upper Altadena (where Mr. Akrotirianakis lives),

27   and Mr. Akrotirianakis has very limited ability to work on trial preparation;

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 1          WHEREAS, on January 16, 2025, CNN reported that the Eaton Fire “is only 45%

 2   contained,” and that additional “Santa Ana” wind “events” are forecasted in the week of January

 3   20, 2025, with “red flag” (fire risk) warnings expected;

 4          WHEREAS, the parties are agreed that a continuance of the trial date, the pretrial

 5   conference, and certain deadlines tied to the date of the pretrial conference would be appropriate

 6   in the circumstances set forth herein;

 7          WHEREAS, on January 16, 2025, the Court issued an order (Dkt. No. 529) continuing the

 8   trial from March 3 to March 10, 2025 and continuing the date of the pretrial conference from

 9   February 13 to February 27, 2025;

10          WHEREAS, Defendants cannot be ready to try the case either on March 3 or March 10,

11   2025, and require a continuance in order to be prepared;

12          WHEREAS, the religious holidays of Passover, Good Friday, and Easter will be observed

13   in April 2025, between the evening of April 11 and April 20, 2025;

14          WHEREAS, the parties are in agreement that Plaintiffs will not engage a new rebuttal

15   expert to rebut the testimony of Defendants’ expert Josh Minkler, but will use existing expert Dr.

16   Vance for any rebuttal based on his existing rebuttal report of Defendants’ prior expert Jay Town,

17   and Defendants will not object at trial to Mr. Vance’s rebuttal testimony to Mr. Minkler for lack

18   of advance notice under Rule 26, provided that Mr. Vance does not offer any substantive opinions

19   not previously disclosed in his rebuttal report or deposition testimony;

20          NOW THEREFORE, the Parties respectfully request that the Court grant the proposed

21   order submitted herewith and continue the following deadlines:

22                 Trial date from March 10, 2025, to April 28, 2025, or such later date convenient for

23                  the Court;

24                 Pretrial conference date from February 27, 2025, to April 10, 2025, or such later

25                  date convenient for the Court;

26                 The deadlines in paragraph B.3 and B.5 of the Court’s Civil Pretrial Instructions to

27                  28 days and 14 days prior to the pretrial conference, respectively;

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 1                 The deadline for Plaintiffs to depose Defendants’ expert Joshua Minkler from

 2                  January 23, 2025 to 42 days prior to the pretrial conference;

 3                 The deadline for Plaintiffs’ Daubert motion related to Defendants’ expert Joshua

 4                  Minkler from January 30, 2025 to 35 days prior to the pretrial conference;

 5                 The deadlines for the parties’ oppositions to Daubert motions to 21 days prior to

 6                  the pretrial conference;

 7                 The deadlines for the parties’ reply briefs in support of Daubert motions to 14 days

 8                  prior to the pretrial conference

 9          ALTERNATIVELY, counsel for the parties respectfully request a (remote) status

10   conference before the Court.

11          IT IS SO STIPULATED.

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13   DATED: January 16, 2025                           KING & SPALDING LLP
14

15
                                                       By: /s/ Joseph N. Akrotirianakis_________
16                                                         JOSEPH N. AKROTIRIANAKIS
17                                                         AARON S. CRAIG
                                                           Attorneys for Defendants
18                                                         NSO GROUP TECHNOLOGIES
                                                           LIMITED AND Q CYBER
19                                                         TECHNOLOGIES LIMITED
20

21                                                     By: /s/ Micah G. Block
                                                           Greg D. Andres
22                                                         Antonio J. Perez-Marques
                                                           Craig T. Cagney
23                                                         Micah G. Block
24                                                         DAVIS POLK & WARDWELL LLP
                                                           Attorneys for Plaintiffs
25                                                         WHATSAPP LLC AND META
                                                           PLATFORMS, INC
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 1                                        L.R. 5-1 ATTESTATION

 2          I, Joseph N. Akrotirianakis, attest that all signatories listed herein, and on whose behalf

 3   this filing is submitted, concur in this filing’s content and have authorized this filing.

 4
                                                    By:     /s/     Joseph N. Akrotirianakis
 5                                                                JOSEPH N. AKROTIRIANAKIS

 6
                                           [PROPOSED] ORDER
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            Pursuant to the stipulation of the parties and good cause therefor having been shown, the
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     Court orders that:
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            1.      The trial is continued from March 10, 2025, to April 28, 2025, or such later date
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     convenient for the Court;
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            2.      The pretrial conference is continued from February 27, 2025, to April 10, 2025, or
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     such later date convenient for the Court;
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            3.      The deadlines in paragraph B.3 and B.5 of the Court’s Civil Pretrial Instructions
14
     are continued to 28 days and 14 days prior to the pretrial conference, respectively;
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            4.      The deadline for Plaintiffs to depose Defendants’ expert Joshua Minkler is
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     continued from January 23, 2025 to 42 days prior to the pretrial conference;
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            5.      The deadline for Plaintiffs’ Daubert motion related to Defendants’ expert Joshua
18
     Minkler is continued from January 30, 2025 to 35 days prior to the pretrial conference;
19
            6.      The deadline for the parties’ oppositions to Daubert motions is continued to 21
20
     days prior to the pretrial conference; and
21
            7.      The deadline for the parties’ reply briefs in support of Daubert motions is continued
22
     to 14 days prior to the pretrial conference.
23           IT IS SO ORDERED.
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25   Dated: January ___, 2025                           _________________________________
                                                        The Honorable Phyllis J. Hamilton
26                                                      Senior United States District Judge

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     JOINT STIPULATION AND [PROPOSED]                        5                   Case No. 4:19-cv-07123-PJH
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